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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SHANEQUA MCCRAE,

             Plaintiff,
                                       CIVIL ACTION FILE NO.
v.                                     1:22-cv-03401-TWT

EMORY UNIVERSITY,

             Defendant.

                                  ORDER

      This matter is before the Court on Defendant Emory University’s Consent

Motion for Extension of Time to File Objections to the Report and

Recommendation. Having read and considered the Motion and for good cause

shown, the Court GRANTS the Motion and ORDERS that the deadline

for Defendant to file objections to the Report and Recommendation is extended

to Friday, February 21, 2025.

      SO ORDERED, this 6th day of February 2025.


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                                    THOMAS W. THRASH, JR.
                                    United States District Judge




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